Case 22-42781-mxm11                   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                                          Attachment Page 1 of 19


 Balance Sheet
 Natural Gas Vehicles Texas, Inc.
 As of February 28, 2023
    Account                                     Feb 28, 2023


 Assets
  Current Assets
    Cash and Cash Equivalents
    First Capital Bank of TX NGV                         8.96
    Spectra Business - 39 NGV                          116.26
    Wallis State Bank Checking NGV                   2,475.66
    Total Cash and Cash Equivalents                  2,600.88
    Accounts Receivable                           221,719.62
    Allowance for doubtful accounts               (12,566.10)
    Certificate of Deposit                        251,769.15
    Due from Employees                              46,916.17
    Due from NGV Global Group                       12,500.00
    Due from NGV Real Estate                      150,000.00
    Parts Inventory                             2,414,285.28
    Prepaid expenses                               (6,108.06)
    WIP Stock                                       66,633.05
    WIP Reserve                                 (206,067.88)
    WIP Shipping                                  198,888.31
  Total Current Assets                          3,140,570.42
  Intercompany Accounts
    I/C Due to / Due Fr Global / NGVT          (1,729,525.75)
    I/C Due To / Due Fr HR & Admin/NGVT        (1,909,587.75)
    I/C Due To / Due Fr NGS/NGVT               10,762,833.93
    I/C Due To / Due Fr Wing/NGVT                1,541,138.21
    I/C Due To / Fr IVSL/NGVT                      (27,067.69)
    I/C Due to /Due fr NGL/NGVT                  9,831,862.14
  Total Intercompany Accounts                  18,469,653.09
  Fixed Assets
    Equipment and machinery                      1,070,016.14
    Furniture and Fixtures                         319,931.62
    Leasehold improvements                       3,599,765.16
    Less Accumulated Depreciation              (2,091,496.43)
    Office Equipment                                16,199.90
    Vehicles and Transportation Equipment          695,855.93
  Total Fixed Assets                             3,610,272.32
  Long Term Assets
    Construction in progress                      276,037.50
    Investment in Collectibles                    964,700.00
    Notes receivable - Iljin Components            97,751.55
    Right of use asset                            699,504.40
  Total Long Term Assets                        2,037,993.45
 Total Assets                                  27,258,489.28


 Liabilities and Equity
  Liabilities
    Current Liabilities
    Accounts Payable                              948,889.83
    Accrued interest payable                        21,812.79
    Deferred Revenue                                 4,591.60
    Deferred Tax Liability                        369,524.40
    DeSoto Business Checking NGV                         4.73
    Due to Shareholder(s)                         333,347.56
    Other payables                                     138.73
    Rounding                                      (10,133.21)
    Sales Tax                                       21,878.47
    State and Local Income Tax Payable              15,295.97
    Total Current Liabilities                   1,705,350.87
    Long Term Liabilities
    Loan                                          (81,424.86)
    Note Payable - First Capital Bank (NGV)     2,809,535.37
    Note Payable - Simmons (Small Loan)            (2,473.00)
    Note Payable -Cheverolet                        65,473.19
Case 22-42781-mxm11                Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                                       Attachment Page 2 of 19


 Balance Sheet
 Natural Gas Vehicles Texas, Inc.
 As of February 28, 2023
    Account                                  Feb 28, 2023

    Note Payable-Mitsubishi HC Capital           19,428.01
    Total Long Term Liabilities               2,810,538.71
  Total Liabilities                           4,515,889.58
  Equity
    Accumulated other comprehensive income      401,570.00
    Common Stock                                  1,000.00
    Current Year Earnings                        87,789.71
    Paid-in capital in excess of par          5,653,691.98
    Retained Earnings                        16,598,548.01
  Total Equity                               22,742,599.70
 Total Liabilities and Equity                27,258,489.28




 Notes:
  Amounts are unaudited and per the Company's internal accounting records.
  I/C balances are unverified and may not balance between entities.
  I/C asset accounts have been separated out from current assets.
  Bank balances listed in current liabilities are negative cash balances that the
  accounting system assigns as a liability rather than an asset.
Case 22-42781-mxm11           Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09                  Desc
                                  Attachment Page 3 of 19


 Income Statement
 (Profit and Loss)
 Natural Gas Vehicles Texas,
 Inc.
 For the month ended February
 28, 2023
 Account                           Feb 2023


 Income
 General Labor                     82,725.00
 Parts Revenue                     70,642.52
 Total Income                     153,367.52


 Cost of Goods Sold
 COS Tolls                            429.74
 Cost of materials used            47,643.28
 Fuel costs                           624.14
 General Expenses                   4,637.93
 Non Inventory Use                  7,824.72
 Spoilage                             198.60
 Total Cost of Goods Sold          61,358.41

 Gross Profit                      92,009.11


 Operating Expenses
 Bank Service Charges                 900.69
 Depreciation                      42,367.77
 Note Interest Expense                976.28
 Penalties and Fines                   84.93
 Shipping Expense                     300.00
 Software license fees              2,208.96
 Uniforms                           1,520.00
 Utilities                            624.69
 Total Operating Expenses          48,983.32

 Operating Income                  43,025.79

 Net Income                        43,025.79




 Notes:
  Amounts are unaudited and per the Company's internal accounting records.
  MOR Part 7 (c and g) Debtor entities routinely pay affiliate entities for allocable share of
  overhead and employee expenses; debtors have obtained and repaid short-term affiliate
  loans in the ordinary course of business to meet operating expenses.
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 4 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 5 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 6 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 7 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 8 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 9 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 10 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 11 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 12 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 13 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 14 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 15 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 16 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 17 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 18 of 19
Case 22-42781-mxm11   Doc 39-1 Filed 04/06/23 Entered 04/06/23 00:40:09   Desc
                          Attachment Page 19 of 19
